                    Case 2:19-cr-00936-BRM Document 18 Filed 05/16/19 Page 1 of 1 PageID: 12
CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 0717)
I. CIR.DIST. DIV. CODE                   2. PERSON REPRESENTED                                                                   VOUCHER NUMBER
                                             JAVIER OSORIO
3. MAG. DKT. DEF, NUMBER                              4. DIST. DKT. DEF. NUMBER                      5. APPEALS DKT. DEE. NUMBER                      6. OTHER DKT. NUMBER
 19mj6 13 1-3
7, IN CASE/MATTER OF (Case Name)          8. PAYMENT CATEGORY                              9. TPE PERSON REPRESENTED                          10. REPRESENTATION TYPE
                                          l4’lony                  C Petty Offense          ‘Adult Defendant              C Appellant              (See instructions
      (]A-    V           i,4
                              ‘
                                          C Misdemeanor            C Other                  C Juvenile Defendant C Appellee
                                          C Appeal                                          C Other
1 1. OFFENSE(S) CHARGED (Cite U.S. Code. Title & Section) I/more than one o/Jènse, list (up to jive,) major offenses charged, according to severit ofofiènse.

      Zt      It               tu
12. ATTORNEY’S NAME (First Mime, MI., Last Name, including any sii//Lç),                              13. COURT ORDER
    AND MAILING ADDRESS                                                                                C 0 Appointing Counsel                         C C Co-Counsel
            w A                                                                                        C F Subs For Federal Defender                  C R Subs For Retained Attorney
                s    Q. HAL C                ITT t                                                     C P Subs For Panel Attorney                    C Y Standby Counsel

                                                                                                      Prior Attorney’s
                                                                                                          Appointment Dates:
                                                        .i          ,,   ,
                                                                                                       C Because the above-named person represented has testified under oath or has otherwise
      Telephone Number:                                   I         f                                 satisfied this Court that he or she ( I) is financially unable to employ counsel and (2) does
                                                                                                      not wish to waive counsel, and because the interests ofjustice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Onlr provide per instructions)                              name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                       C Other (See hmstructions)


                                                                                                                           S’nature of Presiding Judge or By Order of the Court

                                                                                                              5-flu “NT
                                                                                                                      Date of Order                              Nunc Pro Tune Date
                                                                                                      Repayment or partial repayment ordered from the person represented for this service at tune
                                                                                                      appointment.        C YES       C NO

                          CLAIM FOR SERVICES AND EXPENSES                                                                                     FOR COURT USE ONLY
                                                                                                               TOTAL              MATH TECH.             MATH TECH.
                                                                                              .

                                                                                                                                                                                 ADDITIONAL
       CATEGORIES (Attach itemization ofservices with dates)                                                  AMOUNT               ADJUSTED               ADJUSTED
                                                                                        CLAIMED                                                           AMOUNT
                                                                                                              CLAIMED               HOURS
15.    a. Arraignment and or Plea                                                                                      0.00                                      0.00
       b. Bail and Detention Hearings                                                                                  0.00                                      0.00
       c. Motion Hearings                                                                                              0.00                                      0.00
       d. Trial                                                                                                        0.00                                      0.00
       e Sentencing HeannLs                                                                                            0 00                                      0 00
       f Revocation Heanngs                                                                                            0 00                                      0 00
       g Appeals Court                                                                                                 0 00                                          0 0


       Is. Other (‘Specifi’ on additional sheets)                                                                      1100                                          0.00
       (RATEPERHOURS                                          )    TOTALS:                         0.00                0.00                   0.00                   0.00


16        Interviewa and Conferences                                                                                   0   00                                        0 00


       b Obtaining and reviewing records                                                                               0 00                                          0 00
       c Legal research and bnef svnting                                                                               0 00                                          0 00
       d Travel time                                                                                                   0 00                                          000
       e. Investigative and other work (Specifi’ on additional sheets)                                                 0.00                                          0,00
       (RATE PER HOUR = S                                     I    TOTALS:                         0.00                0.00                   0.00                   0.00
IT     Travel Expenses (lodging, pw*ing. meals, mileage, etc.)
18.    Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                                 0.00                                            0.00
19. CERTIFICATION OF ATTORNEY PAYEE FOR THE PERIOD OF SERVICE                                              20. APPOINTM ENT TERMINATION DATE                        21. CASE DISPOSITION
                                                                                                               IF OTHER THAN CASE COMPLETION
      FROM:                                              TO:
22. CLAIM STATUS                     0 Final Paytnent                   0 Interim Payment Number                                       U Supplemental Payment
      Have you previously applied to the court for compensation and/or reimbursetnent for thin case? U YES U NO               If yes, were you paid?    U    YES C NO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anvthimmg of valued from any other source in connection with this
      representation? U YES         0 NO            If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
      Signature of Attorney                                                                                                                 Date

                                                                  APPROVED FOR PAYMENT                    =   COURT USE ONLY
23. IN COURT COMP.                      24. OUT OF COURT COMP.                25. TRAVEL EXPENSES             26. OTHER EXPENSES                       27. TOTAL AMT. APPR.;CERT.
                                                                                                                                                        $0.00
28. SIGNATUREOFTHEPRESIDINGJUDGE                                                                              DATE                                     28a. JUDGECODE


29. IN COURT COMP.                      30. OUT OF COURT COMP.                31. TRAVEL EXPENSES             32. OTHER EXPENSES                       33. TOTAL AMT. APPROVED
                                                                                                                                                        $0.00
34. SIGNATURE OF CHIEF JUDGE. COURT OF APPEALS (OR DELEGATE) Payment approved                                 DATE                                     34a. JUDGE CODE
      in excess 0/the statutory threshold anmoumit.
